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 3
     Attorney for Defendant
 4   JUAN JOSE SANCHEZ VALENCIA
 5
                            UNITED STATES DISTRICT COURT
 6                          EASTERN DISTRICT OF CALIFORNIA
 7

 8

 9
     UNITED STATES OF AMERICA
                                                    )   Case No.: CR S-07-441 GEB
                    Plaintiff,                      )
10
                                                    )   STIPULATION AND ORDER
            vs.                                     )
11
                                                    )   CONTINUING SENTENCING HEARING
     JUAN SANCHEZ VALENCIA, et. al.,                )   AND ADOPTING NEW SCHEDULE FOR
12
                                                    )   DISCLOSURE OF PRE-SENTENCE
                    Defendants.                     )
13                                                      REPORT AND OBJECTIONS RE SAME
                                                    )
                                                        .
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15
            It is hereby stipulated and agreed to between the United States of America through Heiko
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     Coppola, Assistant United States Attorney, and defendant, Juan Jose Sanchez Valencia, by and
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18   through his counsel, Lindsay Anne Weston that the sentencing hearing in this matter currently
19
     scheduled for January 8, 2010, at 9:00 a.m. be continued to February 26, 2010, at 9:00 a.m. and
20
     that the Court adopt the following schedule for the disclosure and objections thereon of the pre-
21

22   sentence report:

23          Disclosure of draft report                     January 15, 2010
24
            Written objections to report                   January 29, 2010
25
            Disclosure final sentencing report             February 5, 2010
26

27          Motion for correction of report                February 12, 2010
28
            Reply or statement of non-opposition           February 19, 2010.



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              The basis for this continuance is the defense counsel requests additional time to prepare
 1

 2   for the sentencing hearing.
 3
     Dated: January 4, 2010                         Respectfully submitted,
 4
                                                    /s/Lindsay Weston
 5
                                                    _________________________________
 6                                                  Lindsay Anne Weston
                                                    Attorney for Defendant
 7                                                  JUAN JOSE SANCHEZ VALENCIA
 8

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10
     Date: January 4, 2010                          LAWRENCE G. BROWN
11                                                  United States Attorney
12
                                                    /s/ Lindsay Weston for Heiko Coppola
13                                                  _______________________________
                                                    Heiko Coppola
14
                                                    Assistant United States Attorney
15                                                  Per telephonic and written authorization

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19
                                            ORDER

20   IT IS SO ORDRED.
21
     1/5/10
22
                                                  GARLAND E. BURRELL, JR.
23                                                United States District Judge

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